FILED
CHARLOTTE, NC

| JUN 26 2019
IN THE UNITED STATES DISTRICT COURT isp
FOR THE WESTERN DISTRICT OF NORTH CAROLINA weSsenn UST COURT

STATESVILLE DIVISION
UNITED STATES OF AMERICA ) DOCKET NO. 5:19-cr- 5 O
)
Vv. )
)
RAUL RANGEL-GUTIERREZ ) FACTUAL BASIS
)

 

NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attorney for the Western District of North Carolina, and hereby files this Factual Basis in
support of the Plea Agreement filed simultaneously in this matter.

This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the Defendant will
tender pursuant to the Plea Agreement, and that the facts set forth in this Factual Basis are
sufficient to establish all of the elements of the crime(s). The parties agree not to object to or
otherwise contradict the facts set forth in this Factual Basis.

Upon acceptance of the plea, the United States will submit to the Probation Office a
“Statement of Relevant Conduct” pursuant to Local Criminal Rule 32.4. The Defendant may
submit (but is not required to submit) a response to the Government’s “Statement of Relevant
Conduct” within seven days of its submission, The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that
they have the right to object to facts set forth in the presentence report that are not contained in
this Factual Basis. Either party may present to the Court additional relevant facts that do not
contradict facts set forth in this Factual Basis.

1. On or about October 1, 2018, in Mecklenburg County, within the Western District of
North Carolina, the Defendant, RAUL RANGEL-GUTIERREZ, did knowingly and intentionally
possess with intent to distribute fifty (50) grams or more of methamphetamine (actual), a
Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841 (a)(1)
and 841(b)(1)(A).

2. Onor about October 23, 2018, in Mecklenburg County, within the Western District of
North Carolina, the Defendant, RAUL RANGEL-GUTIERREZ, did knowingly and intentionally
possess with intent to distribute fifty (50) grams or more of methamphetamine (actual).

3, Onor about October 23, 2018, in Mecklenburg County, within the Western District of
North Carolina, and elsewhere, the Defendant, RAUL RANGEL-GUTIERREZ, an alien, was

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found in the United States after having been removed and deported therefrom in or about
December 2017, and not having obtained the express consent of the Secretary of Homeland
Security to reapply for admission to the United States; in violation of Title 8, United States Code,
Section 1326(a).

R. ANDREW MURRAY
UNITED STATES ATTORNEY

STEVEN R. KAUFMAN (/)
ASSISTANT UNITED STATES ATTORNEY

Defendant's Counsel’s Signature and Acknowledgment

 

I have read this Factual Basis, the Bill of Information, and the Plea Agreement in this
case, and have discussed them with the Defendant. Based on those discussions, I am satisfied
that the Defendant understands the Factual Basis, the Bill of Information, and the Plea
Agreement. I hereby certify that the Defendant does not dispute this Factual Basis.

DATED: 2E/ 4

 

orman Butler, Esq., Attorney for Defendant

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